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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                      8:91CR38
                              )
          v.                  )
                              )
DELANO MAXWELL,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion
(Filing No. 823) which seeks a reduction of defendant’s sentence

pursuant to the amendments to the crack cocaine sentencing

guidelines and recent decisions of the United States Supreme

Court.   Both the defendant and the government have filed briefs

(Filing Nos. 824 and 830).

           At defendant’s request, a hearing was held on August 1,

2008, and on August 25, 2008, defendant filed a supplemental

brief (Filing No. 832).

           The United States Probation office has prepared and
submitted to the Court a retroactive sentencing worksheet which

addresses the two-level reduction across the board as it deals

with offense levels for crack cocaine.              These adjustments were

declared to be retroactive so that all defendants previously

sentenced under the crack guidelines and who were still in prison

were entitled to an adjustment of their sentence pursuant to the

new guideline levels.
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            Title 18, United States Code, Section 3582(c)(2)

provides:

                 [I]n the case of a defendant who
                 has been sentenced to a term of
                 imprisonment based on a sentencing
                 range that has subsequently been
                 lowered by the Sentencing
                 Commission pursuant to 28 U.S.C.
                 944(o), upon motion of the
                 defendant or the Director of the
                 Bureau of Prisons, or on its own
                 motion, the court may reduce the
                 term of imprisonment, after
                 considering the factors set forth
                 in section 3553(a) to the extent
                 that they are applicable, if such
                 reduction is consistent with
                 applicable policy statements issued
                 by the Sentencing Commission.

The defendant is entitled to a recalculation of his sentence

under the amended crack cocaine guidelines.

            His total offense level as a result of these

modifications to the guidelines is now 34.            He has a criminal

history category of I, and this converts to a sentencing range of

292 to 365 months on Count I.        The sentences of 180 months each

for Counts III and IV are unaffected, and these sentences will
run concurrently to the sentence imposed on Count I.               The amended

guidelines represent a reduction in defendant’s sentence of 68

months.

            At the time defendant was originally sentenced, the

Court had held evidentiary hearings on the issue of treating

crack cocaine 100 times worse than powder, and it had concluded

that this distinction was scientifically unsupported, and that

the guidelines for crack cocaine were significantly more onerous


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than justified by the comparison of crack cocaine to powder

cocaine.   At that time, the Court sentenced the defendant to a

non-guideline sentence of two hundred forty (240) months.                  The

United States Court of Appeals for the Eighth Circuit reversed

and remanded for resentencing.         In accordance with the Circuit’s

mandate, the defendant was subsequently sentenced to three

hundred sixty (360) months on Count I, and one hundred eighty

(180) months on each of Counts III and IV, to run concurrently to

the sentence imposed on Count I.
           Pursuant to the recent opinions of the United States

Supreme Court in Spears v. United States, 555 U.S. ___, 2009 WL

12944 (2009), Kimbrough v. United States, 552 U.S. ___, 128 S.Ct.

558 (2007), and Rita v. United States, 551 U.S. 338 (2009), the

Court is now authorized to consider what the appropriate ratio

between powder and crack cocaine ought to be in a given case for

purposes of sentencing.      The guidelines are no longer mandatory

or presumptively correct.         See Rita, 551 at 351.        In Spears, the

United States Supreme Court upheld the decision of the United
States District Court for the Northern District of Iowa, in which

the district court reduced the ratio to 20 to 1.               The Court

refers to its earlier decisions commencing in the early 1990's in

which it found that the 100 to 1 ratio was not reasonable or

supportable based upon the scientific evidence relating to the

nature of the two drugs.

           If the drugs involved in this case had been powder

cocaine rather than crack cocaine, the base offense level for


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1.164 kilograms would be 26, and his final offense level would be

32.   With a criminal history category of I, this results in a

guideline range of 121 to 151 months, rather than 292 to 365

months.   This disparity is unconscionable and results in a

serious injustice.     Now that the United States Supreme Court has

decided that the 100 to 1 ratio is not binding on the Court, the

Court reverts to its original analysis in this case.                The Court

has reviewed the factors in Title 18, U.S.C. § 3553(a) and

concludes that the original sentence of 240 months imposed is the
appropriate and reasonable sentence, considering the nature and

amount of drugs involved.         Accordingly,

           IT IS ORDERED:

           1) The defendant be committed to the custody of the

Bureau of Prisons for a term of 240 months on Count I and for a

term of 180 months on each of Counts III and IV to run

concurrently to the sentence imposed on Count I.

           2)   Defendant shall receive credit for all time served

pending trial, pending sentencing, and on the sentences which the
Court originally imposed in this matter.             All other terms and

conditions of the judgment and committal order filed November 27,

2005 (Filing No. 690), remain in full force and effect.

           DATED this 6th day of February, 2009.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court



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